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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

RODERICK ARNOLD, et al., on behalf of                 Civil File No. 01-CV-2086 (DWF/AJB)
themselves and all others similarly
situated,

                   Plaintiffs,

v.                                                         INDEX TO EXHIBITS TO
                                                   DECLARATION OF MICHAEL IWAN
CARGILL, INC.,

                          Defendant.


 Exhibit A -   In Re Potash Antitrust Litigation, 1993 WL 543013 (D. Minn.)
 Exhibit B -   Declaration of Lawrence P. Schaefer in Proceedings Regarding Deposition of
               R. Bill Douglas
 Exhibit C -   Excerpts from the deposition of R. Bill Douglas, with exhibits
 Exhibit D -   Letter dated August 14, 2002 from Janice M. Symchych to Lawrence Schaefer
               (with Notice of Taking Deposition of R. Bill Douglas dated August 14, 2002)
 Exhibit E -   Letter dated August 30, 2002 from Susan Coler to Magistrate Judge Boylan
 Exhibit F -   Amended Notice of Taking Deposition of R. Bill Douglas dated July 11, 2003
 Exhibit G -   Letter dated September 23, 2003 from Paul B. Klaas to Magistrate Judge
               Boylan
 Exhibit H -   Letter dated October 3, 2003 to Paul B. Klaas and Susan M. Coler from
               Magistrate Judge Boylan
 Exhibit I -   Notices of Taking Deposition of Lawrence Schaefer, Teresa Patton, David
               Shulman, Patricia Jones, Sarah Madsen, and R. Bill Douglas
 Exhibit J -   Response to the Subpoenas Duces Tecum of Lawrence Schaefer, Teresa
               Patton, and Patricia Jones
 Exhibit K     Letter dated March 29, 2004 from Susan M. Coler to Michael Iwan
 Exhibit L -   Amended Notice of Taking Deposition of R. Bill Douglas dated January 29,
               2004
 Exhibit M     E-mail between Paul Klaas and Bill Douglas dated March, April and May,
               2004
 Exhibit N -   Excerpts from the deposition of John Chavers
 Exhibit O -   Excerpts from the deposition of Glenn Ford
 Exhibit P -   Excerpts from the deposition of Candy Smith
 Exhibit Q -   Excerpts from the deposition of Marcia Woolridge Harrison
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Exhibit R -   Excerpts from the deposition of Angela Y. Reid
Exhibit S -   Attorney listing for Latif Doman from Martindale-Hubbell’s lawyers.com
Exhibit T -   Excerpts from the deposition of Lois Cephus
Exhibit U -   Excerpts from the deposition of Raymond E. Fowler
Exhibit V     Michelson v. Merrill Lynch, et al., 1989 WL 31514 (S.D.N.Y.)
Exhibit W     Memorandum and Order filed May 3, 1996, and Report and Recommendation
              filed March 14, 1996, in Schubot, et al. v. Rochester Methodist Hospital, et al.,
              U.S. District Court for the Third Division of Minnesota, Court File No. 3-94-
              942
Exhibit X     Memorandum and Order filed June 10, 2004 in Lewis v. Capital One Services,
              Inc., U.S. District Court for the Eastern Division of Virginia, Richmond
              Division, Court File No. 3:04CV186
Exhibit Y -   Fischer, et al. v. Rheem Manufacturing, et al., 2004 WL 1088328 (D. Minn.)
Exhibit Z     Coburn, et al. v. Daimler Chrysler Services of North America, 2003 WL
              22425007 (N.D. Ill.)




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